                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 BROADWAY PINE BRANDS LLC,                            )
                                                      )
                                 Plaintiff,           )   Case No. 2:21-cv-01665-NR
                                                      )
                                                      )   Judge J. Nicholas Ranjan
                     v.                               )
 TOY STORAGE WORLD (TSW) et al.,                      )
                                                      )
                                 Defendants.          )

                          Affidavit of Adam E. Urbanczyk in Support of
                               Motion for Admission Pro Hac Vice

I, Adam E. Urbanczyk, make this affidavit in support of the motion for my admission to appear and

practice in this Court in the above-captioned matter as counsel pro hac vice for Defendant Best us

toy in the above-captioned matter pursuant to LCvR 83.2, LCvR 83.3, and this Court's Standing

Order Regarding Pro Hac Vice Admissions dated March 1, 2017 (Misc. No. 99-95).

I, Adam E. Urbanczyk, being duly sworn, do hereby depose and say as follows:

1. I am a Lawyer of the law firm AU LLC.

2. My business address is 564 W. Randolph St. 2nd Floor Chicago, IL 60661.

3. I am a member in good standing of the bars of Illinois, Michigan, and the District of Columbia,

   as well as the Northern District of Illinois, Central District of Illinois, Eastern District of

   Michigan, and U.S. District Court for the District of Columbia.

4. My bar identification numbers are 6301067 (IL), P81582 (MI), 1005729 (DC).

5. A current certificate of good standing from the District of Columbia is attached to this Affidavit

   as Exhibit A.

6. I have no previous disciplinary proceedings concerning my practice of law that resulted in a non-

   confidential negative finding or sanction by the disciplinary authority of the bar of any state or

   any United States court.


                                                                                                        1
7. I attest that I am a registered user of ECF in the United States District Court for the Western

   District of Pennsylvania.

8. I attest that I have read, know and understand the Local Rules of Court for the United States

   District Court for the Western District of Pennsylvania.

9. Based upon the foregoing, I respectfully request that I be granted pro hac vice admission in this

   matter.

I certify and attest that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are false, I am subject to punishment.

Dated:                 March 27, 2022

                                                               /s/Adam E. Urbanczyk
                                                               By: Adam E. Urbanczyk
                                                               Affiant




                                                                                                        2
Exhibit A
  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



              Adam Edward Urbanczyk
       was duly qualified and admitted on February 6, 2012 as an attorney and counselor entitled to
                   practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                            Court at the City of
                                                                        Washington, D.C., on March
                                                                                  27, 2022.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
